Case 1:20-cr-00188-JSR Document 98-2 Filed 09/24/20 Page 1 of 21




             EXHIBIT A:
Bail Reconsideration Motion Dated
          April 20, 2020
      Case 1:20-cr-00188-JSR Document 98-2
                                      26-1 Filed 09/24/20
                                                 04/22/20 Page 2
                                                               1 of 21
                                                                    13
                                                                            Three Bryant Park
                                                                            1095 Avenue of the Americas
                                                                            New York, NY 10036-6797
                                                                            +1 212 698 3500 Main
                                                                            +1 212 698 3599 Fax
                                                                            www.dechert.com


                                                                            ANDREW J. LEVANDER

                                                                            andrew.levander@dechert.com
                                                                            +1 212 698 3683 Direct
                                                                            +1 212 698 0483 Fax

April 21, 2020

The Honorable Jed R. Rakoff
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re: United States v. Weigand, et al., 20 cr. 188 (Bail Reconsideration Motion)

Dear Judge Rakoff:

On behalf of Ruben Weigand, a defendant in the above-captioned case, we write respectfully
to request that the Court reconsider its March 17, 2020 order detaining Mr. Weigand pending
trial. Pursuant to 18 U.S.C. § 3142(f), changed circumstances that have “a material bearing”
on the question of pre-trial release justify reopening Mr. Weigand’s bail hearing.1

The exponential growth of COVID-19 and dire conditions that have developed in the prison
system throughout the country since March 17 warrant reconsideration. In 2018, Mr. Weigand
was diagnosed with obstructive sleep apnea, a respiratory condition his doctor describes in the
attached report as a “hypoventilation syndrome with corresponding oxygen depletion.” Ex. A.
As his doctor states in the attached letter, “[s]leep apnea and resistance in [the] upper airway
often cause a weakened immune system and Mr. Weigand presented corresponding severe
symptoms.” Ex. B. This places Mr. Weigand “at a significant risk [of] becom[ing] severely,
possibly fatally, ill” if he is infected with the coronavirus. Id.

In the last few weeks, many courts in this District, including this Court, have recognized the
escalating impact of the virus on the prison system and released defendants on bail or refused
to detain them, over the government’s objection. This Court recently denied the government’s
request to detain the defendant in United States v. Lopez, 19 cr. 323 (Mar. 23, 2020), stating

1
         Under 18 U.S.C. § 3142(f), a bail “hearing may be reopened, before or after a determination by
the judicial officer, at any time before trial if the judicial officer finds that information exists that was
not known to the movant at the time of the hearing and that has a material bearing on the issue whether
there are conditions of release that will reasonably assure the appearance of such person as required and
the safety of any other person and the community.”
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 3
                                                              2 of 21
                                                                   13

                                                                The Honorable Jed R. Rakoff
                                                                April 21, 2020
                                                                Page 2




that “the coronavirus situation does create, on its own, an exceptional circumstance possibility.”
Tr. at 8:10–11; 10:23–24. This Court found that it “creates a danger if [a defendant] is placed
in a prison facility, regardless of where that facility is, while the virus is still increasing
exponentially throughout the United States” and that “the Bureau of Prisons is not really
equipped to deal with this in anything like the way one would ideally want.” Id. at 18:14–17;
18:25–19:2.2

As the Court is aware, the virus has significantly impacted attorney-client visits across the
prison system. The fact that the pre-trial stage of this case is likely to be extended, given the
suspension of jury trials, also militates in favor of pre-trial release.

Mr. Weigand is a successful businessman with a legitimate consulting company in the e-
commerce space. He has no criminal history, and the government did not dispute that Mr.
Weigand poses no danger to the community. See March 17 Bail Hearing, Tr. at 13:3–6. Indeed,
the conduct at issue, according to the Indictment, ceased in 2019. Indictment at ¶ 1. The
Indictment does not include any detail about what Mr. Weigand is alleged to have done in
connection with the charged conspiracy, what his role is alleged to have been and what, if
anything, he is alleged to have gained from his alleged participation. The discovery produced
to date – most of which does not involve or reference Mr. Weigand – fails to elucidate whether
he made any false statement to a U.S. financial institution. As noted in the Indictment itself,
the underlying marijuana transactions were lawful under applicable state law. Indictment at
¶¶3, 10 n.2. The financial institutions that are the alleged victims received substantial fees in
connection with the transactions at issue.


2
         We understand that this Court recently denied motions for compassionate release in United
States v. Haney, 19 cr. 541 (April 13, 2020) and United States v. Pinto-Thomas, et al., 18 cr. 579 (April
13, 2020) and acknowledged certain steps the Federal Bureau of Prisons (“BOP”) is taking to combat
the spread of the virus. See United States v. Haney, 19 cr. 541, ECF No. 27 at 14–15 (April 13,
2020). We respectfully submit that Mr. Weigand’s circumstances are distinguishable and weigh in favor
of his release. The defendants in Haney and Pinto-Thomas had been convicted and sentenced. Mr.
Weigand, of course, has not been convicted, continues to benefit from the presumption of innocence,
and need not satisfy the stringent “extraordinary and compelling” standard applicable to compassionate
release. See Pinto-Thomas, ECF No. 189 at 11; see also 18 U.S.C. § 3582(c)(1)(A). In addition, unlike
the defendants in those cases, who had no diagnosed medical conditions or failed to present “strong
evidence” of such an ongoing medical condition, id. at 7, Mr. Weigand has had a diagnosed and
documented underlying medical condition since 2018.
      Case 1:20-cr-00188-JSR Document 98-2
                                      26-1 Filed 09/24/20
                                                 04/22/20 Page 4
                                                               3 of 21
                                                                    13

                                                                  The Honorable Jed R. Rakoff
                                                                  April 21, 2020
                                                                  Page 3




Recognizing the Court’s concerns about risk of flight, we propose a very substantial bail
package consisting of a $4 million personal recognizance bond, secured by Mr. Weigand’s
home in Luxembourg which is worth in excess of $3 million, with no liens,3 $1,000,000 in cash
provided by Mr. Weigand’s close friends, three co-signers, strict pre-trial supervision with
electronic/GPS monitoring, and a condition of house arrest (with permission to leave only for
meetings with counsel or court appearances). Mr. Weigand would be confined to the home of
Janne Reisch, Esq. in Westerly, Rhode Island. Ms. Reisch is a well-regarded family law and
general practitioner and a member of the Bar in Rhode Island, Massachusetts, and Connecticut.4
She is a close friend of Mr. Weigand’s life partner of eleven years. Mr. Weigand will also
execute a waiver of any rights he has to challenge extradition from Germany and Luxembourg
(where he has lived since 2014 but is not a citizen).5

We respectfully submit that this considerable security, these stringent conditions, the nature of
the case, and the extraordinary circumstances warrant granting bail to Mr. Weigand.




3
       Since the process of posting his home in Luxembourg may be time-consuming and the
government has expressed concerns about accepting foreign property as security, if the Court or the
government prefers, Mr. Weigand will borrow against the house and post an additional $1 million in
cash.
4
         By agreeing to have Mr. Weigand subject to house arrest in her home, Ms. Reisch is placing her
law license, livelihood, and well-earned reputation at risk. She is also prepared to sign the bond, placing
her at additional financial risk up to $50,000. Two other co-signers, Mirko Huellemann and Markus
Fuchs, both of whom have provided letters of support, attached as Exhibits C and D, are prepared to
contribute $800,000 and $150,000, respectively, to the cash security. In addition to putting their cash
collateral at risk, Mr. Huellemann will sign the bond to the full extent of $4 million and Mr. Fuchs to
$75,000. Another friend, Benjamin Bayr, is prepared to contribute $50,000 in cash. A letter of support
from Mr. Bayr is attached as Exhibit E.
5
          Upon his release, we propose that he will either be escorted to Rhode Island by the Marshals or,
if that is not feasible, that he be released to Pre-Trial Services in California, where a GPS tracking device
can be activated. Ms. Reisch will travel to California and then accompany him, by plane or car, to
Rhode Island, where the house arrest will be established. As a member of the Bar, she, of course, has
an obligation to ensure that he complies with the Court’s orders and can take no steps that would in any
way assist him in avoiding this Court’s orders.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 5
                                                              4 of 21
                                                                   13

                                                          The Honorable Jed R. Rakoff
                                                          April 21, 2020
                                                          Page 4




I.     BACKGROUND

Procedural History

On March 9, 2020, a grand jury indicted Mr. Weigand on a single count of conspiracy to commit
bank fraud in violation of 18 U.S.C. § 1349, alleging that Mr. Weigand and his co-conspirators
“engaged in a scheme to deceive United States banks and other financial institutions into
processing in excess of one hundred million dollars in credit and debit card payments for the
purchase and delivery of marijuana products” in states in which the personal use of marijuana
has been legalized, California and Oregon. Indictment at ¶ 1.

During a layover at Los Angeles International Airport on March 9, Mr. Weigand was arrested
by federal agents. On March 13, Mr. Weigand was presented in the Central District of
California before Magistrate Judge Patrick J. Walsh, who ordered his release on bail. His bail
conditions included a $500,000 bond to be secured by equity and real estate; GPS location
monitoring; the surrender of Mr. Weigand’s passport and travel documents; and the restriction
of his travel to the Los Angeles area and the Southern District of New York. March 17 Bail
Hearing, Tr. at 6:3–8.

The government appealed Magistrate Judge Walsh’s decision to this Court. After holding a
telephonic bail review hearing on March 17, this Court determined that no condition or
combination of conditions would reasonably assure Mr. Weigand’s appearance, overruled the
magistrate judge’s bail decision, and ordered Mr. Weigand detained pending trial. Id. at 27:22–
28:4. Mr. Weigand is being detained at Santa Ana City Jail in Orange County, California. His
arraignment, which the Court has ordered will be held telephonically, is scheduled for April 28,
2020.

The Spread of COVID-19 and Prison Conditions

As the Court recognized in its ruling in the Lopez case, since March 17, the COVID-19
pandemic has resulted in a rapidly escalating number of cases and deaths on a daily basis. As
of April 20, over 753,317 people across every state had tested positive for the virus. More than
36,109 people have died in the United States. Orange County, where Mr. Weigand is currently
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 6
                                                              5 of 21
                                                                   13

                                                              The Honorable Jed R. Rakoff
                                                              April 21, 2020
                                                              Page 5




detained, has recorded over 1,600 confirmed cases and 32 deaths.6

According to public health experts, incarcerated individuals “are at special risk of infection,
given their living situations” and “may also be less able to participate in proactive measures to
keep themselves safe.”7 These problematic prison conditions include forced interactions with
correctional officers; inmates in close confines with multiple other inmates in shared cells or
rooms, and the resulting impossibility of social distancing; limited access to soap, hand
sanitizer, cleaning supplies and disinfectants; and delayed medical evaluation and treatment.8
For these reasons, physicians have described prisons as “petri dishes for contagious respiratory
illnesses” such as COVID-19.9

It has been reported that at least 10 inmates at the Santa Ana Central Jail, in close proximity to
the facility in which Mr. Weigand is being detained, have contracted the virus, four of whom
tested positive in early April.10 Additionally, two jail deputies at nearby facilities have also
tested positive.11



6
        “Coronavirus in the U.S.: Latest Map and Case Count,” THE NEW YORK TIMES (April 20,
2020), at https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html.
7
         “Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President Mike
Pence, and Other Federal, State, and Local Leaders from Public Health and Legal Experts in the United
States,” (March 2, 2020), at https://bit.ly/2W9V6oS.
8
        Joseph A. Bick, “Infection Control in Jails and Prisons,” Clinical Infectious Diseases
45(8):1047–1055 (Oct. 2007), at https://doi.org/10.1086/521910; Margo Schlanger and Sonja Starr,
“Four Things Every Prison System Must Do Today,” SLATE (Mar. 27, 2020), at https://slate.com/news-
and-politics/2020/03/four-steps-prevent-coronavirus-prison-system-catastrophe.html.
9
        “Letters to the Editor: A prison doctor’s stark warning on coronavirus, jails and prisons,” LOS
ANGELES TIMES (Mar. 20, 2020), at https://www.latimes.com/california/story/2020-03-20/prison-
doctors-stark-warning-on-coronavirus-and-incarceration.
10
         Tony Saavedra, “Full quarantine imposed at Orange County central jail after 4 more inmates
contract    virus,”    THE     ORANGE       COUNTY      REGISTER      (April     7,    2020),      at
https://www.ocregister.com/2020/04/07/full-quarantine-imposed-at-orange-county-central-jail-after-4-
more-inmates-contract-coronavirus/.
11
        Id.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 7
                                                              6 of 21
                                                                   13

                                                             The Honorable Jed R. Rakoff
                                                             April 21, 2020
                                                             Page 6




Mr. Weigand shares a windowless room with 14 other inmates at the Santa Ana City Jail. Those
other inmates are a transient population. Moreover, almost every day, two or three of the other
inmates leave the communal cell to clean the foyer where the general public enters and leaves
the facility, exposing them to potentially infected individuals. Hand sanitizer, disinfectant
wipes, and other means of protecting against the virus are not readily available to inmates.

Prison conditions in Bureau of Prisons facilities in New York, too, are exceedingly challenging.
As this Court acknowledged in its recent decision in United States v. Haney, 19 cr. 541, ECF
No. 27 at 1 (April 13, 2020), this “public health crisis and . . . national emergency . . . can best
be reduced by the kind of social distancing not easily attained in an overcrowded federal prison
facility.” Although this Court acknowledged that “the BOP has taken a number of steps to
mitigate the spread of the virus,” it was “ever mindful of the fact that conditions of confinement
– sharing small cells, eating together, using same bathrooms and sinks, delays in medical
evaluation and treatment, and rationed access to soap – make prisons more potentially
conducive to the transmission of COVID-19 than elsewhere.” Id. at 14. This Court added that
early signs of containment and progress, including BOP data, “must be treated with great
caution, as the BOP has so far only tested for COVID-19 those prisoners who seem to be
sufficiently unhealthy as to be in need of possible hospitalization.” Id. at 16.

As of the end of March, the BOP had reported that at least five inmates at federal facilities had
died due to COVID-19.12 The Federal Defenders and others have voiced concerns that the BOP
official numbers significantly understate the number of cases and “obscure the magnitude of
the crisis behind bars.”13 There is a growing disparity between the numbers reported by the
BOP and prison union officials. Echoing the concerns this Court expressed in Haney about
limited testing, the Federal Defenders have noted that inmates at the Metropolitan Correctional
Center (MCC) and the Metropolitan Detention Center (MDC) in New York are being tested to


12
         Melena Ryzik and Nancy Coleman, “As Tekashi69 Is Released, Inmates Fearing Coronavirus
Ask,     ‘Why    Not     Me?’”   THE     NEW      YORK      TIMES    (April   2,    2020),   at
https://www.nytimes.com/2020/04/02/arts/music/tekashi69-free-prison-
coronavirus.html?action=click&module=Latest&pgtype=Homepage.
13
       Noah Goldberg and Stephen Rex Brown, “Coronavirus pandemic rages at NYC’s federal jails
— and numbers back lawyers’ and staffers’ claims that management has a poor grip on the problem.”
NEW YORK DAILY NEWS (April 20, 2020), at https://www.nydailynews.com/coronavirus/ny-
coronavirus-mdc-mcc-bop-20200420-t25khpqxkfdqfmpvixxvlvxqfm-story.html.
      Case 1:20-cr-00188-JSR Document 98-2
                                      26-1 Filed 09/24/20
                                                 04/22/20 Page 8
                                                               7 of 21
                                                                    13

                                                             The Honorable Jed R. Rakoff
                                                             April 21, 2020
                                                             Page 7




such a limited extent that the official BOP numbers are “sham numbers.”14 In addition, staff
and corrections officers at the MDC have reported to the press that the MDC has an inadequate
number of healthcare providers and limited cleaning supplies and masks for staff, conditions
“setting up an environment to spread th[e] disease.”15 So far, due to coronavirus concerns, at
least 38 inmates have been released from the MCC and 53 from the MDC.16

II.     ARGUMENT

A.    The Pandemic and the Defendant’s Medical Condition Constitute Exceptional
Circumstances Warranting Release on Conditions.

Courts in this district have found that the pandemic, by itself, has created “exceptional”
circumstances that may justify a defendant’s release, even absent underlying health conditions.
See 18 U.S.C. § 3145(c) (“A person subject to detention pursuant to section 3143(a)(2) or (b)(2)
. . . may be ordered released, under appropriate conditions . . . if it is clearly shown that there
are exceptional reasons why such person’s detention would not be appropriate.”) (emphasis
added).

In United States v. Lopez, 19 cr. 323 (Mar. 26, 2020), accounting for the spread of the virus and
its potential impact on the defendant, this Court denied the government’s request to detain a
defendant who had violated the terms of his pre-trial release, even though he had no underlying
health conditions and reported no symptoms. March 23 Bail Hearing, Tr. at 9:11–17. The
Court found that the coronavirus had caused “the creation of . . . exceptional circumstances and
all of its aspects” in the defendant’s case. Id. at 18:9–11. The Court added that the virus “creates
a danger if [a defendant] is placed in a prison facility, regardless of where that facility is, while
the virus is still increasing exponentially throughout the United States” and observed that “the
Bureau of Prisons is not really equipped to deal with this in anything like the way one would
ideally want.” Id. at 18:14–17; 18:25–19:2. Similarly, in United States v. Estime, 19 cr. 711
(Mar. 27, 2020), even though the defendant had no underlying medical conditions, Magistrate
Judge Paul E. Davison ordered his release because of the virus. See also United States v.
Opuoru, 16 cr. 148, ECF No. 449 (April 2, 2020) (releasing, on consent, defendant with no

14
        Id.
15
        Id.
16
        Id.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 9
                                                              8 of 21
                                                                   13

                                                            The Honorable Jed R. Rakoff
                                                            April 21, 2020
                                                            Page 8




underlying medical conditions because of the risk posed by COVID-19 and restrictions on his
right to counsel).

Several courts in this district have recognized that the risks the virus poses are amplified when
a defendant has underlying medical conditions. See, e.g., United States v. Perez, 19 cr. 297,
ECF No. 62 (Mar. 19, 2020) (ordering the release of a defendant over the government’s
objection because his lung disease and related health conditions placed him “at a substantially
heightened risk of dangerous complications” if he contracted COVID-19); United States v.
Reinaldo Roman, 19 cr. 116, ECF No. 155 (Mar. 27, 2020) (finding that “the combination of
the COVID-19 pandemic” and the defendant’s preexisting health conditions that “heighten[e]d
his risk of complications from the virus” presented “exceptional reasons to justify his release
pending sentencing”); United States v. Brown, 15 cr. 623, ECF No. 43 (April 8, 2020)
(releasing, over government’s objection, defendant with asthma).17

Although the risks posed by the virus independently justify his release, Mr. Weigand’s
diagnosed condition renders him even more vulnerable to the virus. See Ex. A (diagnosing “a
hypoventilation syndrome with corresponding oxygen depletion.”); Ex. B (“Sleep apnea and
resistance in [the] upper airway often cause a weakened immune system and Mr. Weigand
presented corresponding severe symptoms.”).

B.    Defendants In This District Have Been Released On Bail Due to the Pandemic
Even When They Pose A Danger To The Community, Which Mr. Weigand Does Not.

As noted above, the government does not dispute that Mr. Weigand poses no danger to the
community.

The spread of COVID-19 has resulted in the release in this district of defendants who have been
charged with violent crime or pose an ongoing danger to the community. In addition to this
Court’s decision in the Lopez case, in which the defendant had pled guilty to attempted Hobbs
Act robbery and use of a firearm in relation to a drug trafficking crime, in United States v.
Hudson, 19 cr. 496 (Mar. 19, 2020), Judge McMahon ordered the release over the government’s

17
         Courts in the Eastern District of New York have also taken this approach based on inmates’
underlying medical conditions. See, e.g., United States v. Jackson, 18-CR-606 (JS) (April 13, 2020)
(releasing, over the government’s objection, a defendant with sleep apnea, asthma, obesity and
hypertension in a drug conspiracy case in which she faces 360 to life career offender guidelines).
     Case
     Case1:20-cr-00188-JSR
          1:20-cr-00188-JSR Document
                            Document98-2
                                     26-1 Filed
                                          Filed09/24/20
                                                04/22/20 Page
                                                         Page10
                                                              9 of
                                                                of13
                                                                   21

                                                              The Honorable Jed R. Rakoff
                                                              April 21, 2020
                                                              Page 9




objection of a defendant charged with narcotics conspiracy, loansharking, and extortion based
on “compelling reasons related to the current health crisis.” The defendant’s bail application
had been denied twice before because of the danger he posed to the community. See also United
States v. Santiago Ramos, 20 cr. 04 (Mar. 19, 2020) (denying, due to the risk of the COVID
virus, the government’s request for revocation and detention, despite the government’s
allegations that the defendant had continued to commit felonious conduct and had violated his
initial conditions of pre-trial release by seeking to defraud additional investors and
communicating with witnesses and victims without counsel).

Because Mr. Weigand poses no danger to the community, he too should be released.

C.   The Proposed Bail Package And Stringent Bail Conditions Will Assure Mr.
Weigand’s Appearance at Trial.

We respectfully submit that the substantial bail package we propose will reasonably assure Mr.
Weigand’s appearance at trial.

Although the March 17 hearing focused on the fact that Mr. Weigand is a German citizen and
Germany does not extradite its citizens, since 2014, Mr. Weigand has resided in and established
his business in Luxembourg. His life partner lives and works there; and his primary residence,
the home he is prepared to post as collateral, is there. Luxembourg has an extradition treaty
with the United States and has extradited individuals to the United States. See, e.g., United
States v. Garcia, 37 F.3d 1359 (9th Cir. 1994) (describing the extradition from Luxembourg to
the United States of a former DEA agent); United States v. Jurado-Rodriguez, 907 F. Supp.
568, 571 (E.D.N.Y. 1995) (detailing the extradition from Luxembourg to the United States of
individuals indicted on drug and money laundering charges).18




18
         Mr. Weigand would be subject to extradition to the United States from Luxembourg on the
charges in the indictment. None of the conditions that may bar or result in the denial of extradition
under the treaty appear to apply in Mr. Weigand’s case: he is not a Luxembourg citizen; he has not been
convicted or acquitted in Luxembourg on the charges in the indictment; and the charged offenses are
not “fiscal offenses” for which extradition may be denied, including offenses relating to the “payment
of taxes or customs duties” and “currency exchange laws.” Extradition Treaty with Luxembourg (Oct.
1, 1996), Articles 2, 3, 4, 5, and 6.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 11
                                                              10 of 21
                                                                    13

                                                              The Honorable Jed R. Rakoff
                                                              April 21, 2020
                                                              Page 10




Mr. Weigand will execute a waiver of his right to challenge extradition from both Germany and
Luxembourg. Courts in this district have credited a defendant’s waiver of the right to challenge
extradition. In United States v. Bodner, for example, the Court credited a Swiss national’s
written waiver of his right to challenge extradition. The court noted that, if the government’s
argument that “the Swiss government will not extradite Swiss nationals” were “taken to its
logical conclusion, no Swiss national would ever be eligible for bail.” 2004, WL 169790, at *2
(S.D.N.Y. 2004). Mr. Weigand will also surrender any and all travel documents and will make
no new applications.

The enclosed letters of support, which speak to Mr. Weigand’s good character and reputation
for honesty, further underscore that Mr. Weigand is not a flight risk. Ex. C, D and E.

D.    The Elongated Pre-Trial Schedule In This Case and Likelihood of a Delayed Trial
Favor Pre-Trial Release on Conditions.

Because of the spread of the virus, the pre-trial stage of this case is likely to be significantly
longer than otherwise, and Mr. Weigand’s trial may be delayed for an extended period. All
jury duty calls have been suspended in the Southern District of New York and, under the most
recent standing order on courthouse operations, “the conduct of jury trials in this district . . . is
suspended until further order of the court.”19

This Court has also accounted for the virus in its scheduling order in this case. The government
has been granted four weeks to complete the production of discovery, two weeks longer than
this Court’s usual practice, and Mr. Weigand’s arraignment has been scheduled for April 28, a
delay that is also a departure from the Court’s usual practice. March 17 Bail Hearing, Tr. at
32:7–9 (“My normal practice is to arraign a defendant the day after he or she is indicted, not to
give six weeks from the time of a bail hearing.”). The scheduling of Mr. Weigand’s trial may
also be impacted by the trial schedule of his co-defendant’s counsel, David Chesnoff. Mr.
Chesnoff represents Robert Durst in a murder trial in Los Angeles. The trial, expected to last


19
        Standing Orders, “Suspension of Jury Trials as a result of COVID-19 and the Limitation of
Court Operations,” 20 misc 197 (April 20, 2020), at https://nysd.uscourts.gov/sites/default/files/2020-
04/STANDING%20ORDER_%20In%20re_%20CORONAVIRUS_COVID_19%20PANDEMIC_%2
0This%20Matter%20Relates%20To_%20Suspension%20of%20Jury%20Trials%20and%20Other%20
Limitation%20of%20COurt%20Operations_Third%20Standing%20Ord.pdf.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 12
                                                              11 of 21
                                                                    13

                                                             The Honorable Jed R. Rakoff
                                                             April 21, 2020
                                                             Page 11




five months, started in March but was then postponed until at least May 26 due to the
coronavirus.20

E.     The Discovery Produced to Date

As noted above, the Indictment is bereft of any detail as to Mr. Weigand’s conduct. The
substantial majority of the discovery produced to date does not refer to Mr. Weigand at all.
Indeed, neither the Indictment nor the government21 has provided any information about what
Mr. Weigand allegedly received in connection with the charged fraud scheme, the victims of
which suffered no financial harm (and, in fact, made millions of dollars). Indeed, the production
we received from the government yesterday included an affidavit, filed last week, to obtain a
warrant to search Mr. Weigand’s cell phones and laptop computer. In the affidavit, there is no
assertion about any compensation Mr. Weigand allegedly received and no reference to his
submission of any false information to U.S. financial institutions.

F.    In The Alternative, Mr. Weigand Should Be Released Under 18 U.S.C. § 3142(i)
Because His Release Is Necessary For The Preparation Of His Defense.

18 U.S.C. § 3142(i) permits the “temporary release” of a defendant “to the extent that the
judicial officer determines such release to be necessary for preparation of the person’s defense
or for another compelling reason.” The Bureau of Prisons has suspended all legal visits through
at least May 18.22

Although Mr. Weigand is able to reach counsel by telephone from the Santa Ana City Jail, the
phone available to him is next to the television in the communal cell and only accessible if no
other inmate is using it. There is no privacy and the noise level in the cell makes it difficult to
have a methodical and intelligible conversation. In addition, the public defender’s office in

20
         See, e.g., Claudia Koerner and Drusilla Moorhouse, “The Robert Durst Murder Trial Is On
Hold Because Of The Coronavirus Pandemic,” BUZZFEED NEWS (Mar. 15, 2020), at
https://www.buzzfeednews.com/article/claudiakoerner/robert-durst-murder-trial-coronavirus.
21
       The government made an initial production on April 10 and a second production yesterday.
22
         Federal Bureau of Prisons, “BOP Implementing Modified Operations,” at
https://www.bop.gov/coronavirus/covid19_status.jsp.
     Case 1:20-cr-00188-JSR Document 98-2
                                     26-1 Filed 09/24/20
                                                04/22/20 Page 13
                                                              12 of 21
                                                                    13

                                                             The Honorable Jed R. Rakoff
                                                             April 21, 2020
                                                             Page 12




Orange County has recently alleged that attorney-client privileged calls in Orange County
facilities were illegally recorded and provided to prosecutors.23 The reality is that Mr.
Weigand’s ability to consult with New York counsel is extremely limited, at best.

Courts in this district have recognized that the pandemic and suspension of legal visits have
significantly impaired defendants’ ability to meet with counsel and prepare their defenses.
Indeed, in United States v. Stephens, Judge Nathan acknowledged that the BOP response and
“the obstacles the current public health crisis pose[d] to the preparation of the Defendant’s
defense constitute[d] a compelling reason [for his temporary release] under 18 U.S.C.
§ 3142(i)” and ordered his release. ECF No. 2798 at 5 (March 19, 2020).

In the Central District of California, too, in light of the virus, Judge James Selna recently
ordered the 90-day temporary release of defendant Michael Avenatti, who has already been
convicted of fraud and extortion in a separate prosecution in the Southern District of New York.
See United States v. Avenatti, 19 cr. 373. Judge Selna ordered his release from the MCC on a
$1 million bond—subject to confinement at a friend’s home, electronic monitoring, and other
conditions—with the aim of allowing Avenatti to prepare for his upcoming embezzlement trial.
United States v. Avenatti, 19 cr. 61, ECF No. 140 (April 10, 2020).

Mr. Weigand’s incarceration and the health crisis have dramatically impeded his ability to
consult with counsel and prepare his defense. Given his detention in California and the
prevailing BOP restrictions, his ability to consult his New York counsel and prepare his defense
will continue to be compromised if he is not released.

Accordingly, 18 U.S.C. 3142(i) presents an alternative basis for Mr. Weigand’s release.




23
         Tony Saavedra, “DA asked to investigate Orange County’s illegally recorded attorney-client
phone calls,” THE ORANGE COUNTY REGISTER (Mar. 12, 2020), at
https://www.ocregister.com/2020/03/12/da-asked-to-investigate-orange-countys-illegally-recorded-
attorney-client-phone-calls/.
       Case 1:20-cr-00188-JSR Document 98-2
                                       26-1 Filed 09/24/20
                                                  04/22/20 Page 14
                                                                13 of 21
                                                                      13

                                                        The Honorable Jed R. Rakoff
                                                        April 21, 2020
                                                        Page 13




III.     CONCLUSION

For the reasons above, we respectfully request that the Court reopen Mr. Weigand’s bail
hearing and grant his bail application.

Respectfully submitted,

/s/ Andrew J. Levander

Andrew J. Levander


CC (via ECF): AUSA Christopher J. DiMase
              AUSA Nicholas S. Folly
              AUSA Tara LaMorte
Case 1:20-cr-00188-JSR Document 98-2 Filed 09/24/20 Page 15 of 21




              EXHIBIT B:
Request to Stay Transfer to New York
       Dated August 18, 2020
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page16
                                                             1 of 6
                                                                  21
                                                                   Three Bryant Park
                                                                   1095 Avenue of the Americas
                                                                   New York, NY 10036-6797
                                                                   +1 212 698 3500 Main
                                                                   +1 212 698 3599 Fax
                                                                   www.dechert.com


                                                                   ANDREW J. LEVANDER

                                                                   andrew.levander@dechert.com
                                                                   +1 212 698 3683 Direct
                                                                   +1 212 698 0483 Fax
   August 18, 2020


   The Honorable Jed S. Rakoff
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

   Re:     United States v. Weigand & Akhavan, 20 cr. 188

   Dear Judge Rakoff:

   We represent Ruben Weigand, a defendant in the above-captioned case, who is detained pending
   trial in the Santa Ana City Jail in the Central District of California. Your Honor has directed that
   the Order staying Mr. Weigand’s removal to the Southern District of New York remain in effect
   until August 31, 2020. ECF No. 84. However, the Court indicated that it “is unlikely to grant
   further such extensions beyond August 31, 2020.” Id. For the reasons set forth below, we
   respectfully request a further 30-day extension of the Order staying Mr. Weigand’s removal to New
   York. The Government takes no position on this application.

   Mr. Weigand’s health has recently taken an alarming turn for the worse. On August 6, Mr. Weigand
   experienced severe stomach pain, which persisted for several days, after which his hands, neck,
   and other parts of his body developed a yellow hue. He is also experiencing dizziness, itchiness
   throughout his body, severe exhaustion, and discoloration of his urine. Mr. Weigand had his blood
   drawn on August 11 and was seen by a doctor, who suspects Mr. Weigand has liver disease. He is
   awaiting results from blood tests. Publicly available information from the Centers for Disease
   Control and Prevention indicates that individuals with liver disease are at a higher risk of
   contracting the coronavirus.1

   As the Court will recall, Mr. Weigand was also diagnosed in 2018 with the respiratory condition
   known as “obstructive sleep apnea syndrome,” a “significant hypoventilation syndrome with
   corresponding oxygen depletion.” ECF No. 26-2, Ex. A. Mr. Weigand’s diagnosed “[s]leep apnea
   and resistance in [his] upper airway often cause a weakened immune system and Mr. Weigand [has]

   1
    Centers for Disease Control and Prevention, “What to Know About Liver Disease and COVID-19,” May
   5, 2020, at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/liver-disease.html.
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page17
                                                             2 of 6
                                                                  21

                                                                   The Honorable Jed R. Rakoff
                                                                   August 18, 2020
                                                                   Page 2




   presented corresponding severe symptoms.” ECF No. 26-2, Ex. B. His doctor has stated that he is
   at risk of “becom[ing] severely, possibly fatally, ill [if] infected with the coronavirus.” Id.

   The process the Bureau of Prisons (“BOP”) uses to transfer inmates poses extraordinary risks to
   Mr. Weigand, given his health issues. In addition, upon arriving in New York he would be required
   to quarantine for 14 days, which entails solitary confinement in the Special Housing Unit (the
   “SHU”). Finally, both the Metropolitan Correctional Center (“MCC”) and the Metropolitan
   Detention Center (“MDC”) are still not permitting in-person attorney visits and the conditions in
   those facilities remain dangerous for inmates with underlying health conditions.

   I.        The Risks of Transfer

   On August 5, the BOP released its “Coronavirus (COVID-19) Phase Nine Action Plan” (BOP
   Action Plan), its most recent guidance on “the management of the pandemic” at its institutions.2
   The BOP Action Plan addresses the protocol for moving inmates between facilities and
   acknowledges that transfers can be “a complex, multi-day, multi-institution process” and that “[t]he
   risk of COVID-19 exposure and transmission increases as the complexity of the move increases.”3

   The Action Plan also contemplates the use of holdover sites or bus hubs to facilitate the transfer of
   inmates between distant facilities. However, the BOP acknowledges that it is often “not possible
   or verifiable” to determine if all transferred inmates “have been tested for COVID-19 prior to
   transport,” especially if inmates from BOP facilities are commingled with those from non-BOP
   facilities, such as the Santa Ana City Jail, which may be “unavoidable.”4 Indeed, recent reports
   have exposed a dangerous lack of testing by the BOP and the U.S. Marshals Service before inmates
   are transferred from one facility to another. See Keegan Hamilton and Keri Blakinger, “‘Con Air’
   Is Spreading COVID-19 All Over the Federal Prison System,” THE MARSHALL PROJECT (Aug. 13,
   2020) (“[F]ederal prisoners in Marshals custody are being shipped around the U.S. by plane, van,
   and bus with no way to know if they are carrying the virus, and exposing other prisoners, staff, and
   possibly the public along the way.”), at https://bit.ly/3g7RtGx.

    The conditions, sanitariness, and COVID-readiness of holdover sites have been documented to be
   “notoriously poor.” Liliana Segura, “The Coronavirus Brought Federal Transfers to a Halt. Now
   People     Are      Stuck       in   Limbo,”    THE       INTERCEPT       (July    9,    2020),

   2
    Federal Bureau of Prisons, “Coronavirus (COVID-19) Phase Nine Action Plan,” at
   https://prisonology.com/wp-content/uploads/2020/08/COVID-19-Phase-9-COVID-Action-Plan.pdf.
   3
       Id.
   4
       Id.
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page18
                                                             3 of 6
                                                                  21

                                                                     The Honorable Jed R. Rakoff
                                                                     August 18, 2020
                                                                     Page 3




   https://theintercept.com/2020/07/19/coronavirus-prison-transfers-bop/. The transfer process has
   been described as “destabilizing and opaque,” with “no telling how long a transfer w[ill] take, or
   how many stops a person in custody w[ill] make along the way. The virus has managed to make it
   even worse.” Id. Further, transferred inmates may also be exposed to high-risk holdover sites
   along the way, including facilities identified by the Attorney General as facing “serious problems,”
   including FCI Danbury, FCI Elkton, and FCI Oakdale. Id.5

   The risks to Mr. Weigand are acute because of his suspected liver disease, his documented
   respiratory conditions, and his compromised immune system, which place him at risk of
   “becom[ing] severely, possibly fatally, ill [if] infected with the coronavirus.” ECF No. 26-2, Ex.
   B.

   II.       Post-Transfer Quarantine

   Under BOP protocol, “[t]ransferred inmates will undergo the same process as a new intake,” which
   includes “new intake quarantine at the final designated facility.”6 The wardens at the MCC and
   MDC have both stated that new arrivals, including transferred inmates, are “placed in quarantine
   for fourteen days as a precautionary measure.”7 At the MCC and the MDC, this protocol applies
   even to “[n]ew arrivals with a temperature of less than 100.4 degrees” and “[t]hose who are
   asymptomatic.”8

   In practice, this quarantine protocol has meant isolating inmates in the SHU. As Judge Ramos
   stated in an opinion issued last month, “[t]he SHU is normally used to house inmates being
   disciplined or who are being protected for some reason, and many [have] inmates expressed
   trepidation about being sent there for medical isolation, referring to it as ‘the box.’” Fernandez-
   Rodriguez v. Lincoln-Vitale, No. 20 Civ. 3315, 2020 WL 36118941, at *6 (S.D.N.Y. July 2, 2020).
   “SHU cells contain a single concrete slab that functions as a bed, a concrete stool, and a


   5
    See also Memorandum for Director of Bureau of Prisons, “Increasing Use of Home Confinement at
   Institutions Most Affected by COVID-19,” April 3, 2020, at
   https://www.justice.gov/file/1266661/download.
   6
    Federal Bureau of Prisons, “Coronavirus (COVID-19) Phase Nine Action Plan,” at
   https://prisonology.com/wp-content/uploads/2020/08/COVID-19-Phase-9-COVID-Action-Plan.pdf.
   7
    “08/11/2020 Report from the Bureau of Prisons regarding the Metropolitan Detention Center and
   Metropolitan Correctional Center,” at
   https://www.nyed.uscourts.gov/pub/bop/MDC_MCC_20200811_025512.pdf.
   8
       Id.
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page19
                                                             4 of 6
                                                                  21

                                                                         The Honorable Jed R. Rakoff
                                                                         August 18, 2020
                                                                         Page 4




   combination sink and toilet” and the MCC warden has acknowledged that “the conditions for the
   inmates in the SHU are not as favorable as conditions in an ordinary cell.” Id.9

   III.     Conditions at the MCC and the MDC

   After transfer and quarantine, Mr. Weigand would be confined in the MCC or MDC pending trial.
   Both institutions have suspended in-person attorney visiting at this time.10 The Santa Ana City Jail,
   where Mr. Weigand is currently detained, is not a BOP facility and he has access to counsel,
   although not without constraints on his ability to communicate freely and easily with counsel.

   And, more generally, the conditions at the MCC and MDC for someone with medical conditions
   are dangerous and pose far more risk to Mr. Weigand than does the Santa Ana facility.

   Inmates at the MCC initiated a class action in this Court alleging that the MCC warden and her
   staff were deliberately indifferent to “conditions that pose[d] an excessive risk to their health and
   safety” in violation of their rights under the Fifth and Eighth Amendments of the U.S. Constitution.
   Judge Ramos addressed their claims in a detailed opinion that documented the spread of the virus
   at the MCC and the failure on the part of “management of the MCC . . . to implement common-
   sense measures to stop the spread of the virus.” Fernandez-Rodriguez v. Lincoln-Vitale, 2020 WL
   36118941, at *1. Judge Ramos recognized that, following an outbreak at the facility “[i]n March
   and April, at least five percent of the MCC’s inmates fell ill with COVID-19.” Id. The Court found
   that “the MCC’s response to the pandemic was ad-hoc and overlooked many gaps in its scheme to
   identify and isolate infected inmates . . . .” Id. at *2.

   Indeed, management at the MCC admitted to a litany of failures of oversight, management, and
   safety. Id. at *20. These “material failings in the MCC’s system for identifying infected inmates
   and ensuring their prompt isolation . . . especially . . . medically vulnerable inmates” prompted the
   Court to find last month that “the MCC’s inmates faced a substantial risk to their health . . . .” Id.
   at *21. Further, the Court found “[t]he conditions facing the MCC [to be] worse” than those facing



   9
     See also Chris Villani, “Ex-PIMCO CEO Rips Solitary Quarantine in Admissions Case,” LAW360 (Aug.
   6, 2020) (describing solitary confinement in “a 77-square-foot prison cell for nearly 24 hours per day due to
   the COVID-19 pandemic”), at https://www.law360.com/articles/1299156/ex-pimco-ceo-rips-solitary-
   quarantine-in-admissions-case.
   10
     “BOP Implementing Modified Operations,” at
   https://www.bop.gov/coronavirus/covid19_status.jsp#:~:text=MODIFIED%20OPERATIONS%3A%20BO
   P%20is%20implementing,gathering%20and%20maximize%20social%20distancing.
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page20
                                                             5 of 6
                                                                  21

                                                                       The Honorable Jed R. Rakoff
                                                                       August 18, 2020
                                                                       Page 5




   comparable correctional facilities, including facilities identified by the Attorney General as those
   “most affected by COVID-19,” including FCI Danbury, FCI Elkton, and FCI Oakdale. Id.11

   These dangerous conditions and failures of management have not abated at the MCC. As Judge
   Ramos acknowledged, “[e]ven [in early July], after the peak of the outbreak at the MCC, a handful
   of inmates continue[d] to test positive for the disease.” Id. at *1. Indeed, according to the MCC’s
   own numbers, an additional 20 MCC inmates tested positive for COVID-19 between July 7, 2020
   and August 11, 2020.12 Because of the limited testing at the facility, those official figures in all
   likelihood understate the severity of the problem at the MCC.13

   The MDC has not fared much better. Indeed, conditions at that institution also sparked litigation
   by inmates against the MDC warden on the ground that “MDC officials’ response to the pandemic
   has been so deficient as to violate the Eighth Amendment.” Chunn v. Edge, No. 20 civ. 1590, 2020
   WL 3055669, at *1 (E.D.N.Y. June 9, 2020). Both courts in this District and the Eastern District
   of New York have recognized the risks posed by conditions at the MDC and granted applications
   for compassionate release on that basis. See, e.g., United States v. Kissi, No. 13 cr. 51, 2020 WL
   3723055, at *1 (E.D.N.Y. June 26, 2020) (granting motion for compassionate release based in part
   on “the medical risks presented by the conditions at the Metropolitan Detention Center”); see also
   United States v. Lopez, 16 cr. 317, 2020 WL 3100462, at *2 (S.D.N.Y. June 10, 2020) (recognizing
   that “the crowded nature of federal detention centers such as the MDC presents an outsize risk that
   the COVID-19 contagion, once it gains entry, will spread.”).

   As of August 11, 2020, according to official BOP figures, 14 inmates and 44 staff members had
   tested positive at the MDC, compared to 29 inmates and 47 staff at the MCC.14

   11
     See also Memorandum for Director of Bureau of Prisons, “Increasing Use of Home Confinement at
   Institutions Most Affected by COVID-19,” April 3, 2020, at
   https://www.justice.gov/file/1266661/download.
   12
     See “07/07/2020 Report from the Bureau of Prisons regarding the Metropolitan Detention Center and
   Metropolitan Correctional Center,” at
   https://www.nyed.uscourts.gov/pub/bop/MDC_MCC_20200709_033921.pdf; “08/11/2020 Report from the
   Bureau of Prisons regarding the Metropolitan Detention Center and Metropolitan Correctional Center,” at
   https://www.nyed.uscourts.gov/pub/bop/MDC_MCC_20200811_025512.pdf.
   13
     Josh Gerstein, “U.S. prisons’ virus-related release policies prompt confusion,” POLITICO (April 12,
   2020), at https://www.politico.com/news/2020/04/10/us-prisons-virus-related-release-policies-prompt-
   confusion-178691.
   14
     See “08/11/2020 Report from the Bureau of Prisons regarding the Metropolitan Detention Center and
   Metropolitan Correctional Center,” at
   https://www.nyed.uscourts.gov/pub/bop/MDC_MCC_20200811_025512.pdf.
Case
 Case1:20-cr-00188-JSR
      1:20-cr-00188-JSR Document
                         Document98-2
                                  87-1 Filed
                                        Filed09/24/20
                                              08/18/20 Page
                                                        Page21
                                                             6 of 6
                                                                  21

                                                                The Honorable Jed R. Rakoff
                                                                August 18, 2020
                                                                Page 6




   Accordingly, the unsafe conditions at the MCC and the MDC, Mr. Weigand’s specific health
   concerns, and the likely limits on his access to counsel at those facilities favor extending his
   detention in California and postponing his transfer to New York.

   IV.    Conclusion

   For the reasons above, we respectfully request that the Court extend the stay of Mr. Weigand’s
   removal to New York by an additional 30 days. We also respectfully reserve our right to make
   another bail application based in part on the concerns identified herein. In the event the Court
   declines to postpone Mr. Weigand’s transfer to New York, we respectfully request that the Court
   recommend to the BOP that he be transferred by plane, not by bus.


   Respectfully submitted,

   /s/ Andrew J. Levander

   Andrew J. Levander

   CC (via ECF): AUSA Christopher J. DiMase
                 AUSA Nicholas S. Folly
                 AUSA Tara LaMorte
